






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00181-CV







In the Matter of J. A. C.







FROM THE DISTRICT COURT OF WILLIAMSON COUNTY, 277TH JUDICIAL DISTRICT


NO. 02-295-J277, HONORABLE KEN ANDERSON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



J. A. C., a juvenile, pleaded true to the allegation that he engaged in delinquent
conduct by committing the offense of aggravated sexual assault.  See Tex. Penal Code Ann. § 22.021
(West 2003).  The juvenile court adjudged him to have engaged in delinquent conduct and ordered
him committed to the Texas Youth Commission for an indeterminate period not to exceed his
twenty-first birthday.  J. A. C. gave notice of appeal.  Tex. Fam. Code Ann. § 56.01 (West 2002).

J. A. C.'s appointed counsel on appeal filed a brief asserting that the appeal is
frivolous.  The brief complies with the requirements for such briefs discussed in In Re D.A.S., 973
S.W.2d 296 (Tex. 1998), and, more generally, in Anders v. California, 386 U.S. 738 (1967). 
Counsel states that she has diligently examined the record and researched the law applicable to the
facts and issues in the case.  Counsel's brief contains a professional evaluation of the record
demonstrating why there are no meritorious errors to be advanced.  A copy of counsel's brief was
delivered to J. A. C. and to his parent, and they were advised of their right to examine the appellate
record and to file a pro se brief.  A pro se brief was not filed.

We have independently reviewed the record and agree with counsel that the appeal
is frivolous.  Counsel's motion to withdraw is granted.

The juvenile court's judgment is affirmed.



				__________________________________________

				Mack Kidd, Justice

Before Justices Kidd, B. A. Smith and Puryear

Affirmed

Filed:   December 4, 2003


